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11                       UNITED STATES DISTRICT COURT
12                     NORTHERN DISTRICT OF CALIFORNIA
                               SAN JOSE DIVISION
13

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15   FEDERAL TRADE COMMISSION,              Case No. 5:17-cv-00220-LHK-NMC

16                    Plaintiff,            JOINT NOTICE OF UPDATED
                                            ADMITTED EXHIBIT LIST
17              vs.                         THROUGH JANUARY 7, 2019
18   QUALCOMM INCORPORATED, a
     Delaware corporation,
19
                      Defendant.
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                                                  JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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 1          Pursuant to the Court’s request, the Parties submit an updated chart of admitted trial

 2   exhibits attached here as Exhibit A.

 3
     Dated: January 8, 2019                      Respectfully submitted,
 4
                                                 FEDERAL TRADE COMMISSION
 5
                                                 s/ Jennifer Milici
 6
                                                 Jennifer Milici
 7                                               Daniel Matheson
                                                 600 Pennsylvania Avenue, N.W.
 8                                               Washington, D.C. 20580
                                                 (202) 326-2912; (202) 326-3496 (fax)
 9                                               jmilici@ftc.gov
                                                 dmatheson@ftc.gov
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                                                 Attorneys for Federal Trade Commission
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12                                               CRAVATH, SWAINE & MOORE LLP
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                                                 Justina K. Sessions
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                                                     1           JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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 7                                                      geoffrey.holtz@morganlewis.com
 8                                    Attorneys for Qualcomm Incorporated
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                                         2          JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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                                                EXHIBIT A
 1
                                      ADMITTED EXHIBITS - FTC
 2

 3                  Exhibit           Date             Witness                   Sealed1
                    Number          Admitted
 4            1     CX6548          1/4/2019       E. Reifschneider
              2     CX5186          1/4/2019       E. Reifschneider
 5            3     CX6528          1/4/2019       E. Reifschneider
              4     CX6534          1/4/2019       E. Reifschneider
 6            5     CX5211          1/4/2019       E. Reifschneider
              6     CX5210          1/4/2019       E. Reifschneider
 7
              7     CX6491          1/4/2019       E. Reifschneider
 8            8     CX5179          1/4/2019       E. Reifschneider
              9     CX6500          1/4/2019       E. Reifschneider
 9           10     CX6516          1/4/2019       E. Reifschneider
             11     CX6522          1/4/2019       E. Reifschneider
10           12     CX6530          1/4/2019       E. Reifschneider
             13     CX8300          1/4/2019       E. Reifschneider
11           14     CX8297          1/4/2019       E. Reifschneider
             15     CX2093          1/4/2019         I. Blumberg         At least partially sealed
12           16     CX2079          1/4/2019         I. Blumberg         At least partially sealed
             17     CX2120          1/4/2019         I. Blumberg         At least partially sealed
13           18     CX2121          1/4/2019         I. Blumberg         At least partially sealed
             19     CX2122          1/4/2019         I. Blumberg         At least partially sealed
14           20     CX7041          1/4/2019           P. Jacobs
             21     CX7224          1/4/2019           P. Jacobs
15           22     CX7042          1/4/2019           P. Jacobs
             23     CX6605          1/4/2019           P. Jacobs
16           24     CX7279          1/4/2019           P. Jacobs
             25     CX7234          1/4/2019           P. Jacobs
17           26     CX7035          1/4/2019           P. Jacobs
             27     CX5248          1/4/2019            D. Wise
18           28     CX6837          1/4/2019            D. Wise
             29     CX8299          1/4/2019            D. Wise
19           30     CX3755          1/4/2019            D. Wise
20           31     CX7200          1/4/2019            D. Wise
             32     CX5417          1/4/2019            D. Wise
21           33     CX7251          1/4/2019            D. Wise
             34     CX5953          1/4/2019            D. Wise
22           35     CX5419          1/4/2019            D. Wise
             36     CX1000          1/4/2019             N. Yu
23           37     CX1006          1/4/2019             N. Yu
             38     CX1009          1/4/2019             N. Yu
24           39     CX1101          1/4/2019             N. Yu           At least partially sealed
             40     CX5231          1/7/2019          D. Aberle
25           41     CX6469          1/7/2019          D. Aberle
             42     CX6658          1/7/2019          D. Aberle
26
     1
27    The parties understand that the Court may revisit at least some prior sealing orders (Trial Tr.
     393:6-12). If it would be helpful to the Court, the parties are prepared to identify the specific
28   sealed portions of each document in future versions of this filing.



                                                       3          JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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               Exhibit       Date         Witness                    Sealed1
 1             Number      Admitted
         43    CX6974      1/7/2019      D. Aberle
 2       44    CX6998      1/7/2019      D. Aberle
         45    CX7105      1/7/2019      D. Aberle
 3       46    CX7556      1/7/2019      D. Aberle
         47    CX7650      1/7/2019      D. Aberle
 4       48    CX3542      1/7/2019     F. Moynihan          At least partially sealed
 5       49    CX3551      1/7/2019     F. Moynihan          At least partially sealed
         50    CX3255      1/7/2019      J. Grubbs           At least partially sealed
 6       51    CX3264      1/7/2019      J. Grubbs           At least partially sealed
         52    CX3283      1/7/2019      J. Grubbs           At least partially sealed
 7       53    CX6663      1/7/2019      S. Altman
         54    CX6729      1/7/2019      S. Altman
 8       55    CX6979      1/7/2019      S. Altman
         56    CX6983      1/7/2019      S. Altman
 9       57    CX6987      1/7/2019      S. Altman
         58    CX6992      1/7/2019      S. Altman
10       59    CX7141      1/7/2019      S. Altman
         60    CX7580      1/7/2019      S. Altman
11       61    CX7799      1/7/2019      S. Altman
         62    CX7886      1/7/2019      S. Altman
12       63    CX8177      1/7/2019      S. Altman
         64    CX8206      1/7/2019      S. Altman
13       65    CX8281      1/7/2019      S. Altman
14

15                        ADMITTED EXHIBITS - QUALCOMM
16
                Exhibit      Date         Witness                    Sealed
17             Number      Admitted
          1   QX219        1/7/2019    F. Moynihan
18
          2   QX9210       1/7/2019    D. Aberle
19        3   QX9212       1/7/2019    D. Aberle
          4   QX9214       1/7/2019    D. Aberle
20        5   QX9262       1/7/2019    S. Altman
          6   QX9278       1/7/2019    S. Altman
21

22
                             ADMITTED JOINT EXHIBITS
23
                Exhibit       Date         Witness                    Sealed
24              Number      Admitted
          1     JX0087      1/4/2019     I. Blumberg
25        2     JX0036      1/4/2019       P. Jacobs
          3     JX0045      1/4/2019       P. Jacobs
26        4     JX0022      1/4/2019         N. Yu           At least partially sealed
          5     JX0027      1/4/2019         N. Yu           At least partially sealed
27        6     JX0097      1/4/2019         N. Yu           At least partially sealed
          7     JX0098      1/4/2019         N. Yu           At least partially sealed
28



                                          4            JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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               Exhibit       Date         Witness                  Sealed
 1             Number      Admitted
          8    JX0063      1/7/2019      D. Aberle
 2        9    JX0072      1/7/2019      D. Aberle
 3       10    JX0093      1/7/2019      D. Aberle        At least partially sealed
         11    JX0050      1/7/2019     F. Moynihan
 4       12    JX0051      1/7/2019     F. Moynihan
         13    JX0062      1/7/2019      J. Grubbs        At least partially sealed
 5       14    JX0094      1/7/2019      J. Grubbs        At least partially sealed
         15    JX0001      1/7/2019      S. Altman
 6       16    JX0002      1/7/2019      S. Altman
         17    JX0004      1/7/2019      S. Altman
 7       18    JX0006      1/7/2019      S. Altman        At least partially sealed
         19    JX0003      1/7/2019      S. Altman
 8       20    JX0005      1/7/2019      S. Altman
         21    JX0030      1/7/2019      S. Altman
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                                         5          JOINT NOTICE OF ADMITTED TRIAL EXHIBITS
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